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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


  MICHAEL GONIDAKIS, el al„

                 Plaintiffs,                        Case No. 2:22-cv-0773


          v.                                        Chief Judge Algenon L. Marnley

  OHIOREDISTRICTING                                 Magistrate Judge Elizabeth P. Deavers
  COMMISSION, c/fl/.,

                 Defendants.


                           ORDER SETTING BRIEFING SCHEDULE


          In light of the Ohio Supreme Court's decision, released March 16, 2022, see League of

  Women Voters of Ohio v. Ohio Redistrtcting Conini., 2022-Ohio-789, Plaintiffs have filed an

  Emergency Motion (ECF No. 73) to vacate the stay entered at the status conference of March 14.

  and immediately to convene a three-judge panel pursuant to 28 U.S.C. § 2284. The Court intends

  to take up this matter promptly. Therefore, Defendant LaRose and all lntervenors shall file

  responsive briefs to Plaintiffs' Emergency Motion by 5:00 p.m. tomorrow, March 18. No reply

  briefs will be considered.


         IT IS SO ORDERED.




                                             CHIEF UNITED STATES~DISTRICT JUDGE
  DATED: March 17,2022
